
PER CURIAM.
In this prosecution for battery on a schoolmate, the appellant challenges two trial court evidentiary rulings as well as the sentence. The State concedes the sentencing error. We have reviewed the record and applicable law and affirm the appellant’s adjudication of delinquency for battery. We reverse the sentence and remand for resentencing in accord with C.P. v. State, 674 So.2d 183 (Fla. 2d DCA 1996) (community service as a juvenile penalty is limited to the maximum adult term or to the date of the juvenile’s nineteenth birthday, whichever occurs first). See also M.B. v. State, 22 Fla. L. Weekly D1206 (Fla. *8924th DCA May 14, 1997) (where adjudication withheld in juvenile disposition, indeterminate period of community control is proper sentence; if juvenile adjudicated, term of community control cannot be longer than term adult offender could be sentenced to).
We affirm the adjudication of delinquency but reverse and vacate the sentence and remand for resentencing.
DANAHY, A.C.J., and ALTENBERND and WHATLEY, JJ., concur.
